917 F.2d 22Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Langston OLIVER, Plaintiff-Appellant,v.Joseph L. HAMILTON, Defendant-Appellee.
    No. 90-6117.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 1, 1990.Decided Oct. 30, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Salisbury.  Frank W. Bullock, Jr., District Judge.  (CA-89-587-S)
      Langston Oliver, appellant pro se.
      Lucien Capone, III, Assistant Attorney General, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellee.
      M.D.N.C.
      AFFIRMED.
      Before DONALD RUSSELL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Langston Oliver appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Oliver v. Hamilton, CA-89-587-S (M.D.N.C. July 19, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    